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     Attorneys for Plaintiff
12   Wade Reeves
13
                                UNITED STATES DISTRICT COURT
14                             EASTERN DISTRICT OF CALIFORNIA
                                      FRESNO DIVISION
15
16   WADE REEVES,                             )
                                              )
17                                            )   Case No. 1:16-CV-01355-DAD-SKO
                   Plaintiff,
                                              )
18                                            )   NOTICE OF PENDING
            v.                                )   SETTLEMENT
19                                            )
     HOME RETENTION SERVICES, INC.            )   Complaint Filed: September 16, 2016
20                                            )
                   Defendant.                 )
21                                            )
                                              )
22                                            )
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 1                               NOTICE OF PENDING SETTLEMENT

 2
            Plaintiff, WADE REEVES, by and through his undersigned counsel, hereby submits this
 3
 4   Notice of Pending Settlement and states that Plaintiff and Defendant HOME RETENTION

 5   SERVICES, INC., have reached a settlement with regard to this case and are presently drafting,

 6   finalizing and executing the settlement and dismissal documents. Upon execution of the same, the
 7   parties will file the appropriate dismissal documents with the Court.
 8
 9          Respectfully submitted,

10          Dated: September 27, 2017                              MANEY & GORDON, P.A.
11                                                                 By:       /s/ David P. Mitchell
12                                                                           David P. Mitchell, Esq.
                                                                             Attorneys for Plaintiff
13                                                                           WADE REEVES
14                                                                           and
15
                                                                             Deborah L. Raymond, Esq.
16                                                                           Law Offices of Deborah L.
                                                                             Raymond
17                                                                           Attorneys for Plaintiff
                                                                             WADE REEVES
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 1
                                      CERTIFICATE OF SERVICE
 2
            I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
 3
     Electronic Mail this 27th day of September, 2017 to: Eric P. Early, Esq., eearly@earlysullivan.com;
 4
     Scott E. Gizer, Esq., sgizer@earlysullivan.com at Early, Sullivan, Wright, Gizer & McRae, LLP.
 5
 6
 7                                                                        /s/ David P. Mitchell
                                                                          David P. Mitchell, Esq.
 8                                                                        Attorneys for Plaintiff
                                                                          WADE REEVES
 9
10                                                                        and

11                                                                        Deborah L. Raymond, Esq.
                                                                          Law Offices of Deborah L.
12                                                                        Raymond
13                                                                        Attorneys for Plaintiff
                                                                          WADE REEVES
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